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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

In re:

WALLACE NEAL,
                                                        Case No. 2:15-bk-08888-FMD
                                                        Chapter 13

      Debtor.
___________________________________/

WALLACE NEAL,

         Plaintiff,

v.                                                      Adv. No.: 2:21-ap-00007-FMD

U.S. DEPARTMENT OF EDUCATION and
FEDLOAN SERVICING,

      Defendants.
___________________________________/

              DEFENDANT UNITED STATES DEPARTMENT
         OF EDUCATION’S ANSWER AND AFFIRMATIVE DEFENSES

         The United States of America, on behalf of Defendant U.S. Department of

Education (“Defandant”), hereby files its Answer and Affirmative Defenses to

Plaintiff ’s Adversary Complaint to Determine Dischargeability of Education Loans Pursuant

to 11 U.S.C. § 523 (a)(8) (“Complaint”) (Doc. 1), and states as follows:

                                           PARTIES

         1.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 1.
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      2.      Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 2.

      3.      Defendant admits the allegations contained in paragraph 3.

      4.      Defendant admits FedLoan Servicing is a servicer of loans held by the

Department of Education.

                              JURISDICTION AND VENUE

      5.      Defendant admits the allegations contained in paragraph 5.

      6.      Defendant admits the Court has jurisdiction over this adversary

proceeding.

      7.      Defendant admits the allegations contained in paragraph 7.

      8.      Defendant admits the allegations contained in paragraph 8.

      9.      Defendant admits the allegations contained in paragraph 9.

               FACTUAL AND PROCEDURAL BACKGROUND

                                 Historical Background

      10.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 10.

      11.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 11.

      12.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 12.

      13.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 13.
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      14.     Defendant admits that 11 U.S.C. § 523 does not define the term “undue

hardship.”

      15.     Defendant admits courts in the Eleventh Circuit use the Brunner test to

determine whether a debtor has demonstrated undue hardship. The Defendant

denies the remaining allegations contained in paragraph 15.

      16.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 16.

      17.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 17.

      18.     Defendant admits the Brunner standard applies. Defendant denies the

remaining allegations contained in paragraph 18.

                                  Debtor’s Bankruptcy

      19.     Defendant admits the allegations contained in paragraph 19.

      20.     Defendant admits the allegations contained in paragraph 20.

      21.     Defendant admits Debtor’s schedule F listed loans, but denies they list

the current balance.

      22.     Defendant denies the allegations contained in paragraph 22.

      23.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 23.

      24.     Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 24.



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      25.    Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 25.

      26.    Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 26.

      27.    Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 27.

      28.    Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 28.

      29.    Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations in paragraph 29.

      30.    Defendant denies the allegations contained in paragraph 30.

      31.    Defendant denies the allegations contained in paragraph 31.

                                  CLAIMS FOR RELIEF

                          Count I – Determination of Dischargeability

      32.    Defendant reincorporates its response to paragraphs 1 through 31.

      33.    The allegations contained in paragraph 33 are conclusions of law to

which no response is required. To the extent a response is required, Defendant

denies the allegations.

      34.    The allegations contained in paragraph 34 are conclusions of law to

which no response is required. To the extent a response is required, Defendant

denies the allegations.



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          35.    Paragraph 35 contains a prayer for relief to which no response is

required. To the extent a response is required, Defendant denies Debtor is entitled to

relief.

                                        JURY DEMAND

          36.    Defendant denies the Debtor is entitled to a jury trial.

          The Paragraph beginning with WHEREFORE sets forth Plaintiff’s prayer for

relief, to which no response is required. If a response is required, Defendant denies

that Plaintiff is entitled to relief.

                                    GENERAL DENIAL

          Defendant hereby specifically denies every allegation contained in the

Complaint not expressly admitted herein.

                               AFFIRMATIVE DEFENSES

          1.     Plaintiff’s Complaint fails to state a claim upon which relief can be

granted.

          2.     Plaintiff seeks relief to which he is not entitled under the three-pronged

test set forth in Brunner v. New York State Higher Education Services Corp., 831 F.2d 395

(2d Cir. 1987), each of which Plaintiff must prove in this adversary proceeding.

          3.     Defendant offers various Income-Driven Repayment (“IDR”)

programs, including but not limited to the Income Based Repayment (“IBR”)

Program and the Revised Pay As You Earn (“REPAYE”) program. Accordingly,

the United States asserts that the “good faith” test established in Brunner cannot be



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met if Plaintiff either fails to avail himself of or fails to continue using these various

income-driven repayment plans.

       4.     Defendant hereby specifically reserves the right to plead or assert all

other defenses, not currently known, or any other applicable federal statute that it

learns may be applicable during discovery.

       WHEREFORE, having fully answered the specific paragraphs of Plaintiff’s

Complaint, Defendant denies that Plaintiff is entitled to any relief.

                                                  Respectfully submitted,

                                                  KARIN HOPPMANN
                                                  Acting United States Attorney


                                          By:     /s/ David P. Sullivan
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 29, 2021, a copy of the foregoing was

filed with the Court using the Court=s CM/ECF filing system, which will send a

notice of electronic filing to the following:

              Joseph C. LoTempio, Esq.
              Counsel for Plaintiff
              jlotiempio@dellutrilawgroup.com



                                                    /s/ David P. Sullivan
                                                    DAVID P. SULLIVAN
                                                    Assistant United States Attorney




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